   Case 9:19-cv-80742-RLR Document 1-4 Entered on FLSD Docket 06/06/2019 Page 1 of 14

-CASE NUMBER: 502018CC002138XXXXMB Division: RB-
                     ••   n   •~




   Filing# 68020483 E-Filed 02/15/2018 01:59:16 PM




                                                                   IN THE COUNTY COURT OF THE
                                                                   FIFTEENTH JUDICIAL CIRCUIT IN AND
                                                                   FOR PALM BEACH COUNTY

                                                                    General Jurisdiction:
                                                                    Case No.
                                                                    Florida Bar#: 796492
                                                                                                                     !



            SCHOOL DISTRICT OF PALM BEACH                                                                            !.
                                                                                                                     !.•


            COUNTY and YORK RISK SERVICES
            GROUP,
                                                                                                                     .
                                                                                                                     !
                                                                                                                     :·-
                 PETITIONERS,

            V.


            JEANETTE WILLIAMS,

                 RESPONDENT.
            _ _ _ _ _ _ _ _ _ _ _ __,!

           Esther Zapata Ruderman, Esquire, Attor                            yer/Carrier. Conroy Simberg, 1801
           Centrepark Drive East, Suite 200, West                          h, FL 33401




                    The Petitione                     L DISTRICT OF PALM BEACH COUNTY and YORK

                                                  by and through their undersigned counsel, hereby file this             ;.

                                                                                                                         ~-
                                         · Court to enter a Final Judgment and state:
                                                                                                                         I·
                                    ,flis Court has jurisdiction over the parties   and the subject matter of this       !:
                                                                                                                         L
           case.                                                                                                         ti
                                                                                                                         i
                                                                                                                         f- \
                    2.             The amount in controversy is less than $15,000.                                       k
                    3.             This case originated as a workers' compensation claim before Judge Carol
                                                                                                                         it-.
                                                                                                                         l··
                                                                                                                         t-

           Stephenson in Palm Beach County, Florida.                                                                     t·:
                                                                                                                         (


                                                              Page 1 of3


                                                                                         DEF. EXHIBIT C
FILED: PALM BEACH COUNTY, FL, SHARON R. BOCK, CLERK, 02/15/2018 01:59:16 PM

                                                        EXHIBITA
  Case 9:19-cv-80742-RLR Document 1-4 Entered on FLSD Docket 06/06/2019 Page 2 of 14
·-------------------------~-----~------~

                       4.                     On September 20, 2017, the Employee/Claimant (Respondent) filed a

       Notice of Voluntary Dismissal dismissing her March 17, 2017 Petition for Benefits. (A copy

       of the Notice of Voluntary Dismissal is attached as Exhibit "A.j.

                        5.                    The First District Court of Appeal in Palm Beach County School District v.

       Ferrer, 990 So.2d 13 (Fla. 1st DCA 2008) has held that when a claimant files

       dismissal of her petitions, the employer/carrier is considered the "prevaili

                        6.                    Pursuant          to   §440.34(3),   Florida      Statutes,

        {Petitioners), as                        the prevailing party, are entitled to payment of                         §440.34(3},

        Florida Statutes states in pertinent part:

                                              If any party should prevail in any pro                        ore a judge
                                              of compensation claims or court,         t~j[           taxed against
                                              the non-prevailing party, the                       e costs of such
                                              proceedings, not to include att                  es. (emphasis added)

                         7.                   The First District Court                       ruled in Palm Beach County School

        District v. Fernandez, 975 So2d                                 l          151 DCA 2008), that the prevailing party in a

        workers' compensation cas

                         8.                   In the instant            Judge Stephenson awarded prevailing party costs to the

        Employer/Carrier {P                                          ) on November 17, 2017 when she entered an Order on
                                                 j'l"',",



                                                            Motion to Tax Costs. In that Order, she directed the Respondent,

                                                   s, to pay the Employer/Carrier (Petitioners) $1,112.96. (A copy of that



                          9.                  To date. the Respondent has failed to comply with that Order by failing              to
        pay those costs. In order for the Petitioners to have the ability to enforce or execute upon

        the Order awarding costs, such order must be reduced to a Final Judgment.




                                                                               Page 2 of 3




 -----     ......... _, _______ ...........
 Case 9:19-cv-80742-RLR Document 1-4 Entered on FLSD Docket 06/06/2019 Page 3 of 14
"--------------------------------------

                WHEREFORE, the Petitioners, SCHOOL DISTRICT OF PALM BEACH COUNTY

       and YORK RISK SERVICES GROUP, respectfully request this Court to enter a Fina(

       Judgment on the Order on Employer/Carrier's Motion to Tax Costs, for which let execution
       issue.

                                    CERTIFICATE OF SERVtCE

                I HEREBY CERTIFY that a true copy of this Petition was serv

       Williams at 296 Sandpiper Ave Royal Palm Beach FL 33411.

                                                 CONROY SIMBERG
                                                 Attorney for Em
                                                 1801 Centrep
                                                 West Palm




                                            Page 3of3
Case 9:19-cv-80742-RLR Document 1-4 Entered on FLSD Docket 06/06/2019 Page 4 of 14
                                                                               CFN 20180349931
                                                                               OR BK 30115 PG 641
                                                                               RECORDED 09/12/2018 09:23:25
                                                                               Palm Beach County, Florida
                                                                               AMT
                                                                               Sharon R. Bock
                                                         IN THE COUNTY co~~~ ~TROLLER
                                                                            ~ 0e1f 1-d6'41£ I 3P s
                                                         FIFTEENTH JUDICIAL IRCUIT I~ ANb
                                                         FOR PALM BEACH COUNTY, FL


   io     ~o
     SCH~DISTRICT OF PALM
                                                         General Jurisdiction
                                                         Case No. 502018CC002138XXXXMB RB
                                                         Florida Bar#: 796492


     BEAC~OUNTY and YORK RISK
     SERVl~ROUP,

          Petition~             _

     V.
                       ~
     JEANETTE WIL~S,
                            ~
     __R_e_s_po_n_d_e_n_t.__~_..,..,""""""o_ _~/
                             ~~
                               FIN~'v UDGMENT AWARDING COSTS
                 .                     Q                                   .
            THIS CAUSE having            ome on to be heard on September 7, 2018, on the
                                                               0


   Petitioners' Petition to Enter Fin~gment and after having reviewed the pleadings, I.

   hereby make the following finding~

            1.       This Court has jurisdiction over the parties and the subject matter of this

   cause.

            2.       This case originated as a workers' compensation cla_im before Judge Carol

   Stephenson in Palm Beach County, Florida.

            3.       On September 20, 2017, Counsel for the Respondent, Jeanette Williams, ·

   dismissed the March 17, 2017 Petition for Benefits against Petitioners, School District of

   Palm Beach County/York Risk Services Group. Thus, the School District of Palm Beach

   County/York Risk Services Group are considered the prevailing parties in that case.


                                                       Page 1 of 3


                                           EXHIBITB
  FILED: PALM BEACH COUNTY, FL, SHARON R. BOCK, CLERK. 9/7/2018 11:40:00 AM
                                                   .                                 .
Case 9:19-cv-80742-RLR Document 1-4 Entered on FLSD Docket 06/06/2019 Page 5 of 14
                                                                  CFN 20180349931
                                                                  BOOK 30115 PAGE 642
                                                                  20F3


            4.       On November 17, 2017, Judge Stephenson entered a Final Evidentiary

    Order on Employer/Carrier's Motion to Tax Costs, OJCC #17-006063CJS.            Judge

   ~nson ordered the Respondent, Jeanette Williams, to pay costs to the Petitioners

   in~mount of $1,112.96.

          ~IJereby ORDERED AND ADJUDGED:                          .

            1fu'J2> Respondent, Jeanette Williams, who resides at 296 Sandpiper Ave Royal

   Palm Beac~3411, is hereby ordered to pay costs to the Petitioner, School District of

   Palm Beach ~ty, in the amount of $1,112.96, for which let execution issue. This

   amount shall be~terest at the statutory interest rate.
                 .       CG
           DONE AND            ERED at Palm .Beach~West Palm Beach, Florida,

   this   _j_ day of _--=~IS,,2-------• 2018. ~
                                            THE HONORABLE AUGUST BONAVITA




                                          Page 2 of 3




  FILED: PALM BEACH COUNTY,, FL, SHARON R. BOCK, CLERK. 9/7/2018 11:40:00 AM
Case 9:19-cv-80742-RLR Document 1-4 Entered on FLSD Docket 06/06/2019 Page 6 of 14
                                                                  CFN 20180349931
                                                                  BOOK 30115 PAGE 643
                                                                  30F3


                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing order was entered and a true copy was

   ~ e d by electronic transmission on this __ day of _ _ _ _ _ _ _ _ _ , 2018

   to~s,el of r~cord listed below and the parties by regular U.S. mail.

    · .R~O~DENT:                 Jeanette Williams
         ve;                     296 Sandpiper Ave
          ~                      Royal Palm Beach FL 33411

      ATTOR~OR                   Esther Zapata Ruderman, _Esquire
      PETITIO                    Conroy Simberg
                                 1801 Centrepark Drive East
                  rr:B\          Suite200
                  ~              West Palm Beach, FL 33401
                     ~           eruderman@conroysimberg.com



                          ~o


                           ~~
                                  CG
                                   ~
                                   ~




                                         Page 3 of 3




  FILED: PALM BEACH COUNTY, FL, SHARON R. BOCK, CLERK. 9/7/2018 11 :40:00 AM
Case 9:19-cv-80742-RLR Document 1-4 Entered on FLSD Docket 06/06/2019 Page 7 of 14




   By U.S. Certified Mail RR# 7017 1000 0000 1196 7923

   March 19, 2018

   EEOC Miami District Office
   Miami Tower
   100 S.E. 2nd Street
   Miami, Florida 33131

   RE: EEOC Employment Discrimination Complaint

   Dear EEOC:

   I am a school bus driver for The School District of Palm Beach County. This is my claim against
   The School District of Palm Beach County for being discriminated against because of my place
   of national origin (I am Haitian) and because my employer is retaliating against me for making a
   complaint about public safety and being forced to file false reports to the state regarding the
   number of students we drive.


   • My name, address, email, and telephone number:

   Charlotte Dorcile, 2000 N. Congress Ave, Lot 264, West Palm Beach, FL 33409,
   charlotte.dorcile@palmbeachschools.org, phone 561-797-9145. My birthplace is Port-Au-Prince,
   Haiti. I have a lawyer. His name and address is Henry A. Seiden, Seiden Law, 6274 Linton
   Blvd., Suite 103, Delray Beach, Fl. 33484, phone                       561-833-8988, email
   service@seidenlawfirm.com. Please send him copies of all papers you send me.

   • The name, address, email, and telephone number of the employer (or employment agency or
          union) you want to file your charge against:

   The School Board of Palm Beach County, 100 Australian Ave. #200
   West Palm Beach, FL 33406

   • The number of employees employed there (if known): hundreds .
   •
   • A short description of the actions you believe were discriminatory (for example, you were
         fired, demoted, harassed):

   On Feb. 9, 2018, I complained about bus scheduling by my supervisors Gary Mosley and Tammi
   Pierre at the Royal Palm Bus Compound which made us drive too fast, endangering our student
   passengers, ourselves and other people on the public roads. I also complained about my
   supervisors making me falsify reports to the state of Florida regarding the number of students I
   drive. On March 15, 2018, I was harassed on the job with a false allegation of employee
   misconduct in retaliation for my complaint and because I am Haitian.

   • When the discriminatory actions took place?


                                       EXHIBITC
•   Case 9:19-cv-80742-RLR Document 1-4 Entered on FLSD Docket 06/06/2019 Page 8 of 14




       Since Feb. 10, 2018 and continuing.

       • Why you believe you were discriminated against (for example, because of your race, color,
             religion, sex (including pregnancy, gender identity, and sexual orientation), national
             origin, age (40 or older), disability, genetic information, or retaliation:

       All of this is discriminatory harassment in retaliation for me complaining about bus safety and
       my place of national origin being Haiti.

                                                            Sincerely,


                                                           ~¼Jiv(;c;_/J
                                                           Charlotte Dorcile
    Case 9:19-cv-80742-RLR Document 1-4 Entered on FLSD Docket 06/06/2019 Page 9 of 14
•

                                                                                                                Date Stam                CHR Use Onl
      FLORIDA COMMISSION ON HUMAN RELATIONS
       4075 Esplanade Way, Room 110, Tallahassee, Florida 32399

           EMPLOYMENT COMPLAINT OF DISCRIMINATION


      A. PERSONAL INFORMATION                                                                     FCHRNo.                201806355
      Name                                                                                        E-Mail Address             Date of Birth

      Charlotte Dorcile                                                                                                                 5/15/1958
      Mailing Address                                                                             Telephone Number (area code)

      2000 N Coniuess Ave .. Lot. 264                                                             (561) 797-9145
      City, State, and Zip Code                                                                   Work (if possible to call you there)

      West Palm Beach, FL 33409
      B. BUSINESS INFORMATION (employer, labor 011!&nization, employment or aovernment a~encv, etc.)
      Name                                          Number of Employees           Telephone Number

      The School District of Palm Beach County                                                      15+                                    (561) 687-7190
      Street Address (Branch/Office in Florida)                                     City, State and Zip Code                                  County

      2775 Homewood Road                                                           West Palm Beach, :PL 33406                                Palm Beach
      C,C.'AUSE 01, DISCRIMINATION IM.SKD ON- Clreck apD!Jniafe hox(es)                           DATE MOST RECENT DISCRIMINATION TOOK
      [lil RACE liQ COLOR liiJ SEX O RELIGION            DISABILITY/HANDICAP                      PLACE
      ~NATI0NAL0RIGL'\"       @AGE OMARITALSTATUS              liJRETALIATI0N                     (month, day, year)      Ongoing
      D. DISCRfMINATION STATEMENT:
      I believe I have been discriminated against pursuant to Chapter 760 of the Florida Civil Rights Act, and/or Title
      VII of the Federal Civil Rights Act, and/or the Age Discrimination in Employment Act, and/or the Americans
      with Disabilities Act as applicable for the following reason(s):

      I am a dark skinned, black female, over the age of forty. I have been discriminated against based on race,
      national origin, color, sex, age, and retaliation. On 2/9/2018, I complained about bus scheduling by my
      supervisors, Gary Mosley and Tammi Pierre, at the Royal Palm Bus Compound which made us drive too fast.
      Endangering our student passengers, ourselves, and other people on the public roads. I also complained about my
      supervisors making me falsify reports to the state of Florida regarding the number of students I drive. On
      3/15/2018, I was harassed on the job regarding false allegations of misconduct.


       I REQUEST TO BE AFFORDED FULL RELIEF TO WHICH I AM ENTITLED TO UNDER THE LAW(S).
       E, VERIFICATION. Under penalties of perjury, I dedare that I have read the foregoing complaint of discrimination and that tire facts
       stated in it are true. I will a1hise the agency if I change my address or tdephone number and I will eooperate litlly wifu them in tit" p ~ g of my
       c,omplaint in a«ordanee with tllcir procednra.
       SIG~ATt:RE OF COMPLAINANT                                                                                DATE



       X     Id~;~~~~
              (./
                                                              ~-                                                X         ~\22.\ \<~,·

       FCHR Charge Fonn - Revi.'!Cd January 9, 2015

                                                                   EXHIBITD
                                                                                      ______                ____
                                                                                                            ,       __
                                                                                                                    ,       ,.,.   __
          Case 9:19-cv-80742-RLR Document 1-4 Entered on FLSD Docket 06/06/2019 Page 10 of 14
•
     EEOC Form 161..S (1 iiH$)                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
.
                                              NOTICE OF RIGHT TO Sue (ISSUED ON REQUEST)
    To:     Ms. Charlotte Dorelle
                                                                                             From:   Miami District Office
            c/o Henry A. Seiden, Esquire
                                                                                                     Miami Tower, 100 SE 2nd Street
            6274 Linton Blvd., #103
                                                                                                     Suite 1500
            Delray Beach, FL 33484
                                                                                                     Miami, Fl 33131



           D           On behalf of person(s) aggrieved whose identity is
                       CONFIDENT/Ai_ 12:g c.::-R §:&D' "{al'

     EEOC Charge t'-h                                          EE:OC Representativt>                                          Telephone No.

                                                               Ina Depaz,
     150-2018-00532                                            State & Local Coordinator
                                                                                          (See also the additional information enclosed with this form.)
    NOTICE TO THE PERSON AGGRIEVED:
    Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
    Act (GINA): This is your Notice of Right to Sue, issued under Tille VII, the ADA or GINA based on the above-numbered charge. !t has
    been issued at your request. Your lawsuit under Title VU, the ADA or G!NA must be filed in a federal or state court WITHIN 90 DAYS
    of your receipt of this notice: or your right to sue based on this charge will be lost (The time limit for filing suit based on a claim under
    state law may be different.)

           W           More than 180 days have passed since the filing of this charge.

           D           Less than i 80 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                       be able to complete its administrative processing within 180 days from the filing of this charge.
           W           The EEOC is tem1inating its processing of this charge.

           [ .. ]      The EEOC     wm continue to process this c.harge.
    Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
    90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
    your case:
           [K]         The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
                       90 DAYS of your receipt of this Notice. Otherwise, your light to sue based on the above-numbered charge will be lost.

           D           The EEOC is continuing its handling of your ADE/-, case, However. if 60 days have passed since the fifing of the charge,
                       you may file Stiff in ledefal or Seate court unaer (l'!e-Au\::.,\ <11: (lliS ,1Tii~.                                     .

    Equal Pay Act (EPA): You already have the right to sue underthe EPA (tiling an EEOC charge is not required.) EPA suits must be brought
    in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
    any violations that occurred more than 2 years (3 'iears} before you fife suit may not be collectible.
    If you file suit. based on this charge, please send a copy of your court complaint to this office.

                                                                                 On behalf of the Commission


                                                    I                                  ~~                                  NOV 1 1 201ij
     Enc!osures(s)                                  ,9~----M-IC_H_A_E_L_J_.-FA_R_R_E_L-L,----                                       (Date Mailed)
                                                                                District Director

     cc:
                     The School 0istrlct of Palm Beach County
                     c/o Deneen Welling, EEO Coordinator
                     3300 Forest HIii Blvd., AJ.106
                     West Palm Beach, FL 33406-5870




                                                                     EXHIBIT E
    Case 9:19-cv-80742-RLR Document 1-4 Entered on FLSD Docket 06/06/2019 Page 11 of 14
•   Enclosure with EEOC
    Form 161-B (11/16)

                                              INFORMATION RELATED TO FILING SUIT
                                          UNDER THE LAWS ENFORCED BY THE EEOC

                           (This information relates to filing suit in Federal or State court under Federal 'law.
                  If you also plan to sue. claiming violations of State law, please be aware that time limits and other
                         provisions of State law may be shorter or more limited than those described below.)

                                       Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
    PRIVATE SUIT RIGHTS
                                       the Genetic Information Nondi,scrimination               (GINA), or the
                                       Discrimination Employment Act ,....,,....ru.
    1n order to,,pursue this matter further', you must fife a lawsuit against the respondent{s)natnecrtn the charge within .·
    90 days of the date you recen,e this Notice. Therefore, you shouk;I keep a record qf thit. <I._. Once this 90-
    day period is over, your right to sue based on the charge referred to in this Notice will be lost, l:f you intend to
    consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
    him or her the date you received it Furthermore, in order to avoid any question that you did not act in a timely
    manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you {as
    indicated where the Notice is signed) or the date of the postmark, if later.
    Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. {Usually, the appropriate
    State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
    after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
    statement of the facts of your case which shows that you are entitled to retief. Courts often require that a copy of
    your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
    charge. Some courts will not accept your complaint where the charge Includes a date of birth. Your suit may include
    any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
    alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
    some cases can be brought where relevant employment records are kept, where the employment would have
    been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
    the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
    or make legal strategy decisions for you.

    PRIVATE SUIT RIGHTS                Equal Pay Act (EPA):

    EPA suits must be flied in court within 2 years {3 years for willful violations) of the a!ieg,ea EPA UAQerpayment: back
    pay due for violations that ocootred more than 2 years (3 years) before you file suit may not be collectlble. For       ,~
    ~xamp!e, if yo~ ·wern ur\derp~ld unrlar th~ EPA for W()f"J\~.1QJ2{11Q8.,.you.~:O.ijld}i!~ suit___,_,,._,,...,··" ·
    before 7/1/10 - not 12!1/10 - in order to recover unpaid wege,$ du~ for July 2008. This time liroi(fQr filing an EPA
    suit is separate from the 90-day filing period under Title Vll, the ADA, GINA or the ADEA referred to above.
    Therefore, if you also plan to sue under Title     the ADA, GINA or the ADEA, in addition to suing on the EPA
    claim, suit must be filed within 90 days of this Notice ?nd within the 2- or 3-year EPA back pay recovery period.

    ATTORNEY REPRESENTATION              --   Title Vil, the ADA or GINA:

    If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
    in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
    made to the U.S. District Court in the form and manner it requires (you should be prepared to explainin detail your
    efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
    because such requests do not relieve you of the requirement to bring suit within 90 days.

                    REFERRAL AND              ASSISTANCE

    You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
    questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
    inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
    your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
    are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
    file, please make your review request within 6 months of this Notice.' {Before filing suit, any request should be
    made within the next 90 days.)

                         IF YOU FILE. SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
    Case 9:19-cv-80742-RLR Document 1-4 Entered on FLSD Docket 06/06/2019 Page 12 of 14                       .   •




                                                                           ,•c ",c r" ""' "°" cs          \
             MIAMI DISTRICT OFFICE
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION                                    ', S, oo•"'·~:'h41:r,
                                                                                                  ~.:;.
                   MIAMI TOWER
             100 SOUTH EAST 2nd STREET
                MIAMI, FLORIDA 33131
                                               ?Olb 0750 ODO • 3041 4912
                OFFICIAL BUSINESS
           PENALTY FOR PRIVATE USE $300
.   Case 9:19-cv-80742-RLR Document 1-4 Entered on FLSD Docket 06/06/2019 Page 13 of 14


•                                                          '5tate of Jlorid.a
                             Florida Commission on Human Relations
                                          ..;:ti fquo1 Opyortwiity €m,{tfP • .5ilf}tmw1i.1.'ts ~on €mpl111J'61'

                                          4075 Espluade Way • Room 110 • Tsllahassee, Florida 32399-7020                       ToayJenm&
                                                      (850) 4&8-70&2 IFAX: (850) 481-1007                                         Chou
                                                                 hl;m:/Jf.chutam fJ m                                         Michelle Wilson
                                             United in One· Goal: E<[IJIB Opporllmity Q1,rl,\lutual ltesp&Ct                 Extll:fl1M Wffl(lf

             FCHRNo.201806355
             EEOC No. l5D201800532

             Ms. Charlotte Dorcile                                                 COMPLAINANT(S)
             Clo Henry A. Seiden, Esquire
             6274 Linton Blvd. #103
             Delray Beach, FL 33484

             The School District of Palm Beach County                              RESPONDENT(S)
             C Deneer. \\'ellings, EEO Cm-,rdinator
             3300 Fores, Hill Blvd., A-106
             West Palm Beach, FL 33406-5870

                                                            NOTICE OF DISMISSAL

             More than 180 days have elapsed since the charge of discrimination was filed with the Commission. Complainant has
             indicated a desire to file a civil action in a court of competent jurisdiction pursuant to Section 760.11 (8) and Rule
             60Y-5.006(5), F.A.C. Therefore, pursuant to the authority vested in me by the Florida Statutes and Rule 60Y-5.006.
             F.A.C., I hereby dismiss the above referenced complaint on behalf of the Florida Commission on Human Relations.

             FOR THE FLORIDA COMMISSION ON HUMAN RELATIONS:


            ~~           Michelle Wilson
                                                                            DATED:~                            IS:- .20Lf'
                        Executive Director


             CERTIFICATE OF FILING A},ff) SERVICE

             I HEREBY CERTIFY that a copy of the foregoing NOTICE OF' DISMISSAL was filed at Tallahassee, Florida and
             served? the a b o ~ s s e e s this 15\:b day of                     Qc.,+d:e:::
                                                                                         20\ll, by U.S. Mail.  ,
             BY:Jllrnntf
                  Clerk of the Commission




                                                          EXHIBITF


                                                                  COM.WISSIONERS
       Dr. Donna Elam       Marlo Garza       Dianne Goldenberg        Samantha Heare         Teay Jenkins, Chair      Maryam Laguna Borrego
         Pon Richey            Tampa              Lake Wo,11,            North Miami              lake Mary                       Miami

       AIMeCambry              Latan.ya Peterson, Vi,•e Chair             Jay Pichard             Gilbert Singer              Rebet'.ca Steel.e
         Lynn Haven                    Fleming island                     Tallahassee                 Tttmpa                   Juc:l,;.wn ville
     Case 9:19-cv-80742-RLR Document 1-4 Entered on FLSD Docket 06/06/2019                      Page 14 of 14
•Filing# 90261450 E-Filed 05/29/2019 03:56:13 PM

'
        IN THE CIRCUIT COURT OF THE
        15TH JUDICIAL CIRCUIT COURT IN AND
        FOR PALM BEACH COUNTY, FLORIDA

        CASE NO.: 50-2019-CA-001819-XXXX-MB (AN)

        CHARLOTTE DORCILE,

                       Plaintiff,

        vs.

        THE SCHOOL DISTRICT OF
        PALM BEACH COUNTY and
        THE SCHOOL BOARD OF
        PALM BEACH COUNTY FLORIDA
        d/bla The School District of Palm Beach
        County,
                      Defendants.
        _________________I

                            PLAINTIFF'S NOTICE OF EMAIL DESIGNATION

               Plaintiff Charlotte Dorcile gives this notice designating service@seidenlawfirm.com as

        primary email address for her attorneys in the above styled cause and directs that all future

        pleadings, motions, discovery, correspondence and other documents in this cause be served upon

        her by and through her attorneys at that address.


               I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished to the
        process server to be served upon the Defendants with the Summons and Complaint.

        DATED: May 29, 2019                          HENRY A. SEIDEN, ESQ. (FBN 436763)
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                                                     By:    Isl Henr:y A. Seiden
                                                             HENRY A SEIDEN, ESQ.


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